                        Case 5:22-cv-02900-NC Document 8 Filed 05/17/22 Page 1 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                    Northern District
                                                 __________  District of
                                                                      of California
                                                                         __________

            CARLOS GORDOA, an individual;                                     )
            ARIANI REYES, an individual; and                                  )
                     B.G., a minor                                            )
                                                                              )
                            Plaintiff(s)                                      )
                                                                              )
                                v.                                                                Civil Action No. 5:22-cv-02900-NC
                                                                              )
     APPLE, INC., a California corporation;                                   )
 LUXSHARE-ICT, INC. a California corporation; and
                                                                              )
 LUXSHARE PRECISION INDUSTRY CO., LTD., a
             Chinese corporation                                              )
                                                                              )
                           Defendant(s)                                       )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Apple, Inc.
                                       c/o Agent for Service CT Corporation
                                       330 N. Brand Blvd., Suite 700
                                       Glendale, CA 91203



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Richard T. Collins
                                       Callahan & Blaine, APLC
                                       3 Hutton Centre Drive, Ninth Fl.
                                       Santa Ana, CA 92707


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:       5/17/2022
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                         Case 5:22-cv-02900-NC Document 8 Filed 05/17/22 Page 2 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:22-cv-02900-NC

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                        Case 5:22-cv-02900-NC Document 8 Filed 05/17/22 Page 3 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
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                                                 __________  District of
                                                                      of California
                                                                         __________

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            ARIANI REYES, an individual; and                                 )
                     B.G., a minor                                           )
                                                                             )
                            Plaintiff(s)                                     )
                                                                             )
                                v.                                                             Civil Action No. 5:22-cv-02900-NC
                                                                             )
     APPLE, INC., a California corporation;                                  )
 LUXSHARE-ICT, INC. a California corporation; and
                                                                             )
 LUXSHARE PRECISION INDUSTRY CO., LTD., a
             Chinese corporation                                             )
                                                                             )
                           Defendant(s)                                      )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Luxshare-ICT, Inc.
                                       c/o Agent for Service Mandy Yang
                                       5571 Cosmos Cmn
                                       Fremont, CA 94538



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
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whose name and address are:
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                                       3 Hutton Centre Drive, Ninth Fl.
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          5/17/2022
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                         Case 5:22-cv-02900-NC Document 8 Filed 05/17/22 Page 4 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:22-cv-02900-NC

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                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

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